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UNITED STATES DISTRICT COURT

WESTERN DISTRICT oF TENNESSEE
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GREAT AMERICAN INSURANCE CoMPANY CIVIL ACTloN
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MERCHANTS AND PLANTERS BANK sEcTIoN “ ”
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ORDER ON PLAINTIFF’S MOTION FOR ADMISSION PRO HAC VICE OF
LLOYD N. SHIELDS, DANIEL LUND, III, ELIZABETH L. GORDON,
AND STEPHEN D. MOREL

 

BEFORE THE COURT is the motion of Lloyd N. Shields, Daniel Lund, III, Elizabeth L.
Gordon, and Stephen D. Morel, counsel for Great American Insurance Company, respectfully
requesting that they be admitted pro hac vice to appear as counsel for plaintiff in the captioned

matter.

Thls document entered on the docket sheet
with Flu|e 58 and/or 79( (a) FRCP on

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IT APPEARING TO THE COURT that the motion is well taken and should be granted;
IT IS HEREBY ORDERED that Lloyd N. Shields, Daniel Lund, III, Elizabeth L. Gordon,

and Stephcn D. Morel are admitted pro hac vice to appear as counsel for plaintiff , Great American

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NITED ATEs Dis‘TRICT JUDGE
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lnsurance Company, in the captioned matter.

  
   

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 3 in
case 2:05-CV-025]9 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

